                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                                    No. 5:16-CR-00298-D


UNITED STATES OF AMERICA                )
                                        )
               V.                       )
                                        )                      ORDER
TREYTON LEE THOMAS                      )



      For good cause having been shown upon the motion of the United States of
                                                                       )


America for distribution of restitution funds [D.E. 206], it is hereby

      ORDERED that the United States shall return to the Defendant, Treyton L.

Thomas ("Thomas"), all funds that are not needed to satisfy victim restitution and
                    -                             I

asset forfeiture in full. Prior to distribution, Thomas shall provide to the United

States all required information to properly process payment.

      So ORDERED THIS _j_ day of bt2ce1.1h.u., 2022.




                                        J   ES C. DEVER, III
                                        United States District Court Judge




      Case 5:16-cr-00298-D      Document 208          Filed 12/09/22       Page 1 of 1
